                    Exhibit 34
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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_  AuditLocation_ DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_             BeforeValue_       AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2074017183                 2             374396 JCPD-SQL1         7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        Add           RMS_Case                                    Record Added                           TN0900100            FALSE         FALSE       TRUE
      -2074017177                 2             374396 JCPD-SQL1         7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Incident_Link_Number                      372454              TN0900100            FALSE         FALSE       TRUE
      -2074017176                 2             374396 JCPD-SQL1         7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Rape_Case              0                  1                   TN0900100            FALSE         FALSE       TRUE
      -2074007627                 2             374396 SBOWMAN-D         7/19/2022 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              0                  1                   TN0900100            FALSE         FALSE       TRUE
      -2074007610                 2             374396 JC-D063DV2        7/19/2022 DHILTON          D                                  HILTON          EDIT          RMS_Case             Investigate                               Yes                 TN0900100            FALSE         FALSE       TRUE
      -2074007609                 2             374396 JC-D063DV2        7/19/2022 DHILTON          D                                  HILTON          EDIT          RMS_Case             Mgmt_Status_Date                          Jul 19 2022 9:33AM  TN0900100            FALSE         FALSE       TRUE
      -2074007608                 2             374396 JC-D063DV2        7/19/2022 DHILTON          D                                  HILTON          EDIT          RMS_Case             Validated              1                  0                   TN0900100            FALSE         FALSE       TRUE
      -2074007605                 2             374396 JC-D063DV2        7/19/2022 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Link            223                2020                TN0900100            FALSE         FALSE       TRUE
      -2074007604                 2             374396 JC-D063DV2        7/19/2022 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Number          0005-00001         2102-00002          TN0900100            FALSE         FALSE       TRUE
      -2074007519                 2             374396 SBOWMAN-D         7/19/2022 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              0                  1                   TN0900100            FALSE         FALSE       TRUE
      -2071573746                 2             374396 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          RMS_Case             Validated              1                  0                   TN0900100            FALSE         FALSE       TRUE
      -2071573730                 2             374396 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          RMS_Case             Folder_Link            2020               902                 TN0900100            FALSE         FALSE       TRUE
      -2071573729                 2             374396 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          RMS_Case             Folder_Number          2102-00002         0304 00022          TN0900100            FALSE         FALSE       TRUE
      -2071553774                 2             374396 JC-MXL94159F5     3/17/2023 lsaults          L                                  Saults          EDIT          RMS_Case             Validated              0                  1                   TN0900100            FALSE         FALSE       TRUE
      -2071507537                 2             374396 JC-D063DV2        3/22/2023 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Validated              1                  0                   TN0900100            FALSE         FALSE       TRUE
      -2071507533                 2             374396 JC-D063DV2        3/22/2023 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Mgmt_Status_Date       Jul 19 2022 9:33AM Mar 22 2023 11:22AM TN0900100            FALSE         FALSE       TRUE
      -2071507532                 2             374396 JC-D063DV2        3/22/2023 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Case_Closed            0                  1                   TN0900100            FALSE         FALSE       TRUE
      -2071507530                 2             374396 JC-D063DV2        3/22/2023 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Folder_Link            902                1948                TN0900100            FALSE         FALSE       TRUE
      -2071507529                 2             374396 JC-D063DV2        3/22/2023 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Folder_Number          0304 00022         1802-00002          TN0900100            FALSE         FALSE       TRUE
      -2071495893                 2             374396 JC-MXL94159F5     3/23/2023 lsaults          L                                  Saults          EDIT          RMS_Case             Validated              0                  1                   TN0900100            FALSE         FALSE       TRUE




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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_   AuditLocation_ DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_                  BeforeValue_   AfterValue_           Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2074017178                 3              372454 JCPD-SQL1         7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        Add           Incident                                         Record Added                         TN0900100            FALSE         FALSE       TRUE
      -2074017175                 3              372454 JCPD-SQL1         7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Incident             Date_Status                                Jul 18 2022 2:30PM    TN0900100            FALSE         FALSE       TRUE
      -2074017174                 3              372454 JCPD-SQL1         7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Incident             Rape_Case                   0              1                     TN0900100            FALSE         FALSE       TRUE
      -2074007603                 3              372454 JC-D063DV2        7/19/2022 DHILTON          D                                  HILTON          EDIT          Incident             Folder_Link                 223            2020                  TN0900100            FALSE         FALSE       TRUE
      -2074007602                 3              372454 JC-D063DV2        7/19/2022 DHILTON          D                                  HILTON          EDIT          Incident             Folder_Number               0005-00001     2102-00002            TN0900100            FALSE         FALSE       TRUE
      -2072143475                 3              372454 JC-FLPDDV2        1/25/2023 KPETERS          K                                  PETERS          Printed       Incident                                                        Report Printed        TN0900100            FALSE         FALSE       FALSE
      -2071573808                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Case_Disposition                           3                     TN0900100            FALSE         FALSE       TRUE
      -2071573807                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Arrest_Near                                0                     TN0900100            FALSE         FALSE       TRUE
      -2071573806                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Exceptional_Clearance                      B                     TN0900100            FALSE         FALSE       TRUE
      -2071573805                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Date_Exceptional_Clear                     Mar 16 2023 12:00AM   TN0900100            FALSE         FALSE       TRUE
      -2071573804                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Unknown_Time                               0                     TN0900100            FALSE         FALSE       TRUE
      -2071573803                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Prints_Found                               0                     TN0900100            FALSE         FALSE       TRUE
      -2071573802                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Drug_Related                               0                     TN0900100            FALSE         FALSE       TRUE
      -2071573801                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Family_Violence                            0                     TN0900100            FALSE         FALSE       TRUE
      -2071573800                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Hate_Motivated                             0                     TN0900100            FALSE         FALSE       TRUE
      -2071573799                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Assault                                    0                     TN0900100            FALSE         FALSE        TRUE
      -2071573798                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Trtmnt                                     0                     TN0900100            FALSE         FALSE       TRUE
      -2071573797                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Victim_Advised                             0                     TN0900100            FALSE         FALSE       TRUE
      -2071573796                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Children_Involved                          0                     TN0900100            FALSE         FALSE       TRUE
      -2071573795                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Children_Present                           0                     TN0900100            FALSE         FALSE       TRUE
      -2071573794                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Jail_Prison                                0                     TN0900100            FALSE         FALSE       TRUE
      -2071573793                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Property_Supplement                        0                     TN0900100            FALSE         FALSE       TRUE
      -2071573792                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Narrative_Supplement                       0                     TN0900100            FALSE         FALSE       TRUE
      -2071573791                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Statements                                 0                     TN0900100            FALSE         FALSE       TRUE
      -2071573790                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Other_Supplement                           0                     TN0900100            FALSE         FALSE       TRUE
      -2071573789                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Investigation                              0                     TN0900100            FALSE         FALSE       TRUE
      -2071573788                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Intelligence                               0                     TN0900100            FALSE         FALSE       TRUE
      -2071573787                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Records                                    0                     TN0900100            FALSE         FALSE       TRUE
      -2071573786                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Follow_Up                                  0                     TN0900100            FALSE         FALSE       TRUE
      -2071573785                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Off_Supplement                             0                     TN0900100            FALSE         FALSE       TRUE
      -2071573784                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Incident                                   0                     TN0900100            FALSE         FALSE       TRUE
      -2071573783                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Offense                                    0                     TN0900100            FALSE         FALSE        TRUE
      -2071573782                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Narr_Juv_Info                              0                     TN0900100            FALSE         FALSE       TRUE
      -2071573781                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Narr_Wit_Info                              0                     TN0900100            FALSE         FALSE       TRUE
      -2071573780                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Narr_Evd_Info                              0                     TN0900100            FALSE         FALSE       TRUE
      -2071573779                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Narr_Veh_Info                              0                     TN0900100            FALSE         FALSE       TRUE
      -2071573778                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Evidence_Obtained                          0                     TN0900100            FALSE         FALSE        TRUE
      -2071573777                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             serializedproperty                         0                     TN0900100            FALSE         FALSE       TRUE
      -2071573776                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             VehicleStatusIndicator                     0                     TN0900100            FALSE         FALSE       TRUE
      -2071573775                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             GangRelated                                0                     TN0900100            FALSE         FALSE       TRUE
      -2071573774                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Alcohol_Related                            0                     TN0900100            FALSE         FALSE       TRUE
      -2071573773                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Child_Related                              0                     TN0900100            FALSE         FALSE       TRUE
      -2071573772                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Domestic_Violence_Related                  0                     TN0900100            FALSE         FALSE       TRUE
      -2071573771                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Cult_Related                               0                     TN0900100            FALSE         FALSE       TRUE
      -2071573770                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Traffic_Related                            0                     TN0900100            FALSE         FALSE       TRUE
      -2071573769                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Alcohol_Factor                             0                     TN0900100            FALSE         FALSE       TRUE
      -2071573768                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Drug_Factor                                0                     TN0900100            FALSE         FALSE       TRUE
      -2071573767                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Crimes_Children_Factor                     0                     TN0900100            FALSE         FALSE       TRUE
      -2071573766                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Dom_Violence_Factor                        0                     TN0900100            FALSE         FALSE       TRUE
      -2071573765                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Gang_Factor                                0                     TN0900100            FALSE         FALSE       TRUE
      -2071573764                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Hate_Factor                                0                     TN0900100            FALSE         FALSE       TRUE
      -2071573763                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Satanic_Factor                             0                     TN0900100            FALSE         FALSE       TRUE
      -2071573762                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             Traffic_Factor                             0                     TN0900100            FALSE         FALSE       TRUE
      -2071573761                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             At_or_Near                                 0                     TN0900100            FALSE         FALSE       TRUE
      -2071573760                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             College_University                         0                     TN0900100            FALSE         FALSE       TRUE
      -2071573759                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             ACIC_NCIC                                  0                     TN0900100            FALSE         FALSE       TRUE
      -2071573758                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             GCIC_INQ                                   0                     TN0900100            FALSE         FALSE       TRUE
      -2071573757                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident             GCIC_Entry                                 0                     TN0900100            FALSE         FALSE       TRUE



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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_   AuditLocation_ DateStamp_ UserID_      UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_             BeforeValue_         AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2071573756                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins   B                                  HIGGINS         EDIT          Incident             Officer_arrived_time   Jul 15 2022 2:00PM                       TN0900100            FALSE         FALSE       TRUE
      -2071573755                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins   B                                  HIGGINS         EDIT          Incident             Victim_Witness                              0                   TN0900100            FALSE         FALSE       TRUE
      -2071573754                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins   B                                  HIGGINS         EDIT          Incident             Suspect_Arrestee                            0                   TN0900100            FALSE         FALSE       TRUE
      -2071573753                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins   B                                  HIGGINS         EDIT          Incident             Photographed                                0                   TN0900100            FALSE         FALSE       TRUE
      -2071573752                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins   B                                  HIGGINS         EDIT          Incident             Rape_Vrfy                                   0                   TN0900100            FALSE         FALSE        TRUE
      -2071573751                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins   B                                  HIGGINS         EDIT          Incident             Rape_Trtmnt                                 0                   TN0900100            FALSE         FALSE       TRUE
      -2071573750                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins   B                                  HIGGINS         EDIT          Incident             Original_Report                             0                   TN0900100            FALSE         FALSE       TRUE
      -2071573749                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins   B                                  HIGGINS         EDIT          Incident             Phone_Report                                0                   TN0900100            FALSE         FALSE       TRUE
      -2071573748                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins   B                                  HIGGINS         EDIT          Incident             Information_Only                            0                   TN0900100            FALSE         FALSE       TRUE
      -2071573747                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins   B                                  HIGGINS         EDIT          Incident             School_Factor                               0                   TN0900100            FALSE         FALSE       TRUE
      -2071573728                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins   B                                  HIGGINS         EDIT          Incident             Folder_Link            2020                 902                 TN0900100            FALSE         FALSE       TRUE
      -2071573727                 3              372454 JC-MXL9415LG8     3/16/2023 BHiggins   B                                  HIGGINS         EDIT          Incident             Folder_Number          2102-00002           0304 00022          TN0900100            FALSE         FALSE       TRUE
      -2071507538                 3              372454 JC-D063DV2        3/22/2023 MGRYDER    M                                  GRYDER          EDIT          Incident             Date_Cleared                                Mar 16 2023 12:00AM TN0900100            FALSE         FALSE       TRUE
      -2071507528                 3              372454 JC-D063DV2        3/22/2023 MGRYDER    M                                  GRYDER          EDIT          Incident             Folder_Link            902                  1948                TN0900100            FALSE         FALSE       TRUE
      -2071507527                 3              372454 JC-D063DV2        3/22/2023 MGRYDER    M                                  GRYDER          EDIT          Incident             Folder_Number          0304 00022           1802-00002          TN0900100            FALSE         FALSE       TRUE




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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_      BeforeValue_   AfterValue_   Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2074017173                 8             452102 JCPD-SQL1        7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Incident_Offense     Rape_Case       0              1             TN0900100            FALSE         FALSE       TRUE
      -2074017172                 8             452102 JCPD-SQL1        7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Incident_Offense     UCR_Hierarchy   2                            TN0900100            FALSE         FALSE       TRUE
      -2074017171                 8             452102 JCPD-SQL1        7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        Add           Incident_Offense                     Record Added                 TN0900100            FALSE         FALSE       TRUE
      -2074007597                 8             452102 JC-D063DV2       7/19/2022 DHILTON          D                                  HILTON          EDIT          Incident_Offense     Folder_Link     223            2020          TN0900100            FALSE         FALSE       TRUE
      -2074007596                 8             452102 JC-D063DV2       7/19/2022 DHILTON          D                                  HILTON          EDIT          Incident_Offense     Folder_Number   0005-00001     2102-00002    TN0900100            FALSE         FALSE       TRUE
      -2071573722                 8             452102 JC-MXL9415LG8    3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident_Offense     Folder_Link     2020           902           TN0900100            FALSE         FALSE       TRUE
      -2071573721                 8             452102 JC-MXL9415LG8    3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident_Offense     Folder_Number   2102-00002     0304 00022    TN0900100            FALSE         FALSE       TRUE
      -2071507522                 8             452102 JC-D063DV2       3/22/2023 MGRYDER          M                                  GRYDER          EDIT          Incident_Offense     Folder_Link     902            1948          TN0900100            FALSE         FALSE       TRUE
      -2071507521                 8             452102 JC-D063DV2       3/22/2023 MGRYDER          M                                  GRYDER          EDIT          Incident_Offense     Folder_Number   0304 00022     1802-00002    TN0900100            FALSE         FALSE       TRUE




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                      INCIDENT NARRATIVE




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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_           UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_        Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2074017125                 40            851582 JCPD-SQL1       7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Narrative            Source_Module_Link   388            223                TN0900100            FALSE         FALSE       TRUE
      -2074017124                 40            851582 JCPD-SQL1       7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        Add           Narrative                                 Record Added                      TN0900100            FALSE         FALSE       TRUE
      -2074007618                 40            851582 JC-D063DV2      7/19/2022 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2074007617                 40            851582 JC-D063DV2      7/19/2022 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2074007614                 40            851582 JC-D063DV2      7/19/2022 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2074007595                 40            851582 JC-D063DV2      7/19/2022 DHILTON          D                                  HILTON          EDIT          Narrative            Source_Module_Link   223            2020               TN0900100            FALSE         FALSE       TRUE
      -2073494021                 40            851582 JC-8XMXN23        9/7/2022 JHAMES          J                                  HAMES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072283399                 40            851582 JC-MXL94159CF   1/11/2023 DSHEPARD         D                                  SHEPARD         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2071573743                 40            851582 JC-MXL9415LG8    3/16/2023 BHiggins        B                                  HIGGINS         EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2071573742                 40            851582 JC-MXL9415LG8    3/16/2023 BHiggins        B                                  HIGGINS         EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2071573737                 40            851582 JC-MXL9415LG8    3/16/2023 BHiggins        B                                  HIGGINS         EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2071573720                 40            851582 JC-MXL9415LG8    3/16/2023 BHiggins        B                                  HIGGINS         EDIT          Narrative            Source_Module_Link   2020           902                TN0900100            FALSE         FALSE       TRUE
      -2071507547                 40            851582 JC-D063DV2      3/22/2023 MGRYDER          M                                  GRYDER          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2071507546                 40            851582 JC-D063DV2      3/22/2023 MGRYDER          M                                  GRYDER          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2071507541                 40            851582 JC-D063DV2      3/22/2023 MGRYDER          M                                  GRYDER          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2071507520                 40            851582 JC-D063DV2      3/22/2023 MGRYDER          M                                  GRYDER          EDIT          Narrative            Source_Module_Link   902            1948               TN0900100            FALSE         FALSE       TRUE
      -2068117390                 40            851582 JC-MXL94159B6   3/22/2024 MADAMS           M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE




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                         NAMES




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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_      BeforeValue_   AfterValue_   Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2074017157                 4             936300 JCPD-SQL1        7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        Add           Incident_Name                        Record Added                 TN0900100            FALSE         FALSE       TRUE
      -2074007601                 4             936300 JC-D063DV2       7/19/2022 DHILTON          D                                  HILTON          EDIT          Incident_Name        Folder_Link     223            2020          TN0900100            FALSE         FALSE       TRUE
      -2074007600                 4             936300 JC-D063DV2       7/19/2022 DHILTON          D                                  HILTON          EDIT          Incident_Name        Folder_Number   0005-00001     2102-00002    TN0900100            FALSE         FALSE       TRUE
      -2071573726                 4             936300 JC-MXL9415LG8    3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident_Name        Folder_Link     2020           902           TN0900100            FALSE         FALSE       TRUE
      -2071573725                 4             936300 JC-MXL9415LG8    3/16/2023 BHiggins         B                                  HIGGINS         EDIT          Incident_Name        Folder_Number   2102-00002     0304 00022    TN0900100            FALSE         FALSE       TRUE
      -2071507526                 4             936300 JC-D063DV2       3/22/2023 MGRYDER          M                                  GRYDER          EDIT          Incident_Name        Folder_Link     902            1948          TN0900100            FALSE         FALSE       TRUE
      -2071507525                 4             936300 JC-D063DV2       3/22/2023 MGRYDER          M                                  GRYDER          EDIT          Incident_Name        Folder_Number   0304 00022     1802-00002    TN0900100            FALSE         FALSE       TRUE




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            CASE MANAGEMENT




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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_  AuditLocation_ DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_             BeforeValue_       AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2074017183                 2             374396 JCPD-SQL1         7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        Add           RMS_Case                                    Record Added                           TN0900100            FALSE         FALSE       TRUE
      -2074017177                 2             374396 JCPD-SQL1         7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Incident_Link_Number                      372454              TN0900100            FALSE         FALSE       TRUE
      -2074017176                 2             374396 JCPD-SQL1         7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Rape_Case              0                  1                   TN0900100            FALSE         FALSE       TRUE
      -2074007627                 2             374396 SBOWMAN-D         7/19/2022 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              0                  1                   TN0900100            FALSE         FALSE       TRUE
      -2074007610                 2             374396 JC-D063DV2        7/19/2022 DHILTON          D                                  HILTON          EDIT          RMS_Case             Investigate                               Yes                 TN0900100            FALSE         FALSE       TRUE
      -2074007609                 2             374396 JC-D063DV2        7/19/2022 DHILTON          D                                  HILTON          EDIT          RMS_Case             Mgmt_Status_Date                          Jul 19 2022 9:33AM  TN0900100            FALSE         FALSE       TRUE
      -2074007608                 2             374396 JC-D063DV2        7/19/2022 DHILTON          D                                  HILTON          EDIT          RMS_Case             Validated              1                  0                   TN0900100            FALSE         FALSE       TRUE
      -2074007605                 2             374396 JC-D063DV2        7/19/2022 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Link            223                2020                TN0900100            FALSE         FALSE       TRUE
      -2074007604                 2             374396 JC-D063DV2        7/19/2022 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Number          0005-00001         2102-00002          TN0900100            FALSE         FALSE       TRUE
      -2074007519                 2             374396 SBOWMAN-D         7/19/2022 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              0                  1                   TN0900100            FALSE         FALSE       TRUE
      -2071573746                 2             374396 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          RMS_Case             Validated              1                  0                   TN0900100            FALSE         FALSE       TRUE
      -2071573730                 2             374396 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          RMS_Case             Folder_Link            2020               902                 TN0900100            FALSE         FALSE       TRUE
      -2071573729                 2             374396 JC-MXL9415LG8     3/16/2023 BHiggins         B                                  HIGGINS         EDIT          RMS_Case             Folder_Number          2102-00002         0304 00022          TN0900100            FALSE         FALSE       TRUE
      -2071553774                 2             374396 JC-MXL94159F5     3/17/2023 lsaults          L                                  Saults          EDIT          RMS_Case             Validated              0                  1                   TN0900100            FALSE         FALSE       TRUE
      -2071507537                 2             374396 JC-D063DV2        3/22/2023 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Validated              1                  0                   TN0900100            FALSE         FALSE       TRUE
      -2071507533                 2             374396 JC-D063DV2        3/22/2023 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Mgmt_Status_Date       Jul 19 2022 9:33AM Mar 22 2023 11:22AM TN0900100            FALSE         FALSE       TRUE
      -2071507532                 2             374396 JC-D063DV2        3/22/2023 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Case_Closed            0                  1                   TN0900100            FALSE         FALSE       TRUE
      -2071507530                 2             374396 JC-D063DV2        3/22/2023 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Folder_Link            902                1948                TN0900100            FALSE         FALSE       TRUE
      -2071507529                 2             374396 JC-D063DV2        3/22/2023 MGRYDER          M                                  GRYDER          EDIT          RMS_Case             Folder_Number          0304 00022         1802-00002          TN0900100            FALSE         FALSE       TRUE
      -2071495893                 2             374396 JC-MXL94159F5     3/23/2023 lsaults          L                                  Saults          EDIT          RMS_Case             Validated              0                  1                   TN0900100            FALSE         FALSE       TRUE




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        MAIN NARRATIVE CASE NOTES




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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_           UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_        Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2074017123                 40            851583 JCPD-SQL1       7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Narrative            Source_Module_Link   388            223                TN0900100            FALSE         FALSE       TRUE
      -2074017122                 40            851583 JCPD-SQL1       7/18/2022 WATSONINCIDENT   WATSON                             INCIDENT        Add           Narrative                                 Record Added                      TN0900100            FALSE         FALSE       TRUE
      -2074008840                 40            851583 JC-D063DV2      7/19/2022 DHILTON          D                                  HILTON          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2074007616                 40            851583 JC-D063DV2      7/19/2022 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2074007615                 40            851583 JC-D063DV2      7/19/2022 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2074007613                 40            851583 JC-D063DV2      7/19/2022 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2074007590                 40            851583 JC-D063DV2      7/19/2022 DHILTON          D                                  HILTON          EDIT          Narrative            Source_Module_Link   223            2020               TN0900100            FALSE         FALSE       TRUE
      -2074000471                 40            851583 JC-MXL9415LG8    7/20/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073999558                 40            851583 JC-MXL9415LG8    7/20/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073946710                 40            851583 JC-MXL9415LG8    7/25/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073946707                 40            851583 JC-MXL9415LG8    7/25/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073932794                 40            851583 JC-HZ2Q7X2      7/27/2022 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073920263                 40            851583 JC-MXL9415LG8    7/28/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073919791                 40            851583 JC-MXL9415LG8    7/28/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073864404                 40            851583 JC-MXL9415LG8     8/3/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073859420                 40            851583 JC-MXL9415LG8     8/4/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073859023                 40            851583 JC-MXL9415LG8     8/4/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073855361                 40            851583 JC-MXL9415LG8     8/4/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073854181                 40            851583 JC-MXL9415LG8     8/4/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073791229                 40            851583 JC-FLPDDV2      8/10/2022 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073779250                 40            851583 JC-FLPDDV2      8/11/2022 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073778696                 40            851583 JC-HZ2Q7X2      8/11/2022 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073718972                 40            851583 JC-FLPDDV2      8/17/2022 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073698065                 40            851583 JC-MXL9415LG8    8/19/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073697678                 40            851583 JC-MXL9415LG8    8/19/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073650081                 40            851583 JC-MXL9415LG8    8/24/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073591945                 40            851583 JC-MXL9415LG8    8/29/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073551656                 40            851583 JC-MXL9415LG8     9/1/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073494155                 40            851583 JC-8XMXN23        9/7/2022 JHAMES          J                                  HAMES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073492921                 40            851583 JC-8XMXN23        9/7/2022 JHAMES          J                                  HAMES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073490671                 40            851583 JC-MXL9415LG8     9/7/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073432135                 40            851583 JC-MXL9415LG8    9/13/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073431022                 40            851583 JC-MXL9415LG8    9/13/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073429654                 40            851583 JC-MXL9415LG8    9/13/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073406540                 40            851583 JC-MXL9415LG8    9/15/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073401731                 40            851583 JC-MXL9415LG8    9/15/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073362145                 40            851583 JC-MXL9415LG8    9/20/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2073109813                 40            851583 JC-MXL9415LFT  10/14/2022 GWills           G                                  WILLS           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072815632                 40            851583 JC-MXL9415LG8  11/14/2022 BHiggins         B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072604802                 40            851583 JC-FLPDDV2      12/6/2022 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072597439                 40            851583 JC-MXL9415LG8    12/7/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072596455                 40            851583 JC-MXL9415LFT   12/7/2022 GWills           G                                  WILLS           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072596448                 40            851583 JC-MXL9415LG8    12/7/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072592842                 40            851583 JC-MXL9415LG8    12/7/2022 BHiggins        B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072590643                 40            851583 JC-MXL9415LFT   12/7/2022 GWills           G                                  WILLS           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072582080                 40            851583 JC-FLPDDV2      12/8/2022 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072541289                 40            851583 JC-MXL9415LFT  12/12/2022 GWills           G                                  WILLS           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072533525                 40            851583 JC-MXL9415LG8  12/13/2022 BHiggins         B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072532936                 40            851583 JC-MXL9415LG8  12/13/2022 BHiggins         B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072531253                 40            851583 JC-MXL9415LG8  12/13/2022 BHiggins         B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072526028                 40            851583 JC-MXL9415LG8  12/13/2022 BHiggins         B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072524965                 40            851583 JC-MXL9415LG8  12/13/2022 BHiggins         B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072475329                 40            851583 JC-MXL9415LG8  12/19/2022 BHiggins         B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072469611                 40            851583 JC-MXL9415LG8  12/19/2022 BHiggins         B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE




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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_      UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_        Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2072291091                 40            851583 JC-FLPDDV2      1/10/2023 KPETERS     K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072283398                 40            851583 JC-MXL94159CF   1/11/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072283396                 40            851583 JC-MXL94159CF   1/11/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072283391                 40            851583 JC-MXL94159CF   1/11/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072283093                 40            851583 JC-MXL94159CF   1/11/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072218110                 40            851583 JC-MXL94159CF   1/18/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072216430                 40            851583 JC-MXL9415LG8    1/18/2023 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072216195                 40            851583 JC-MXL9415LG8    1/18/2023 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072143417                 40            851583 JC-FLPDDV2      1/25/2023 KPETERS     K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072107240                 40            851583 JC-MXL9415LG8    1/27/2023 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072024677                 40            851583 JC-MXL94159CF     2/2/2023 DSHEPARD   D                                  SHEPARD         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072016472                 40            851583 JC-MXL9415LG8     2/3/2023 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072016470                 40            851583 JC-MXL9415LG8     2/3/2023 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2071984597                 40            851583 JC-HZ2Q7X2        2/7/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2071925619                 40            851583 JC-MXL94159CF   2/14/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2071925478                 40            851583 JC-MXL94159CF   2/14/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2071909732                 40            851583 JC-MXL94159CF   2/15/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2071908922                 40            851583 JC-MXL9415LG8    2/15/2023 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2071718962                 40            851583 JC-8XMXN23        3/7/2023 JHAMES     J                                  HAMES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2071708824                 40            851583 JC-8XMXN23        3/8/2023 JHAMES     J                                  HAMES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2071579019                 40            851583 JC-MXL9415LG8    3/15/2023 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2071573994                 40            851583 JC-MXL9415LG8    3/16/2023 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2071573845                 40            851583 JC-MXL9415LG8    3/16/2023 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2071573741                 40            851583 JC-MXL9415LG8    3/16/2023 BHiggins   B                                  HIGGINS         EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2071573739                 40            851583 JC-MXL9415LG8    3/16/2023 BHiggins   B                                  HIGGINS         EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2071573736                 40            851583 JC-MXL9415LG8    3/16/2023 BHiggins   B                                  HIGGINS         EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2071573715                 40            851583 JC-MXL9415LG8    3/16/2023 BHiggins   B                                  HIGGINS         EDIT          Narrative            Source_Module_Link   2020           902                TN0900100            FALSE         FALSE       TRUE
      -2071572997                 40            851583 JC-MXL9415LG8    3/16/2023 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2071507586                 40            851583 JC-D063DV2      3/22/2023 MGRYDER     M                                  GRYDER          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2071507545                 40            851583 JC-D063DV2      3/22/2023 MGRYDER     M                                  GRYDER          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2071507543                 40            851583 JC-D063DV2      3/22/2023 MGRYDER     M                                  GRYDER          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2071507540                 40            851583 JC-D063DV2      3/22/2023 MGRYDER     M                                  GRYDER          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2071507515                 40            851583 JC-D063DV2      3/22/2023 MGRYDER     M                                  GRYDER          EDIT          Narrative            Source_Module_Link   902            1948               TN0900100            FALSE         FALSE       TRUE
      -2071024840                 40            851583 JC-HZ2Q7X2      5/16/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2070786140                 40            851583 JC-HZ2Q7X2      6/13/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2070698066                 40            851583 JC-MXL9415LFT   6/22/2023 GWills      G                                  WILLS           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2070651532                 40            851583 JC-HZ2Q7X2      6/27/2023 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2070476212                 40            851583 JC-FFZ26X3       7/14/2023 MHOLLIS    M                                  HOLLIS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2070456414                 40            851583 JC-MXL94159B6   7/17/2023 MADAMS      M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2070244549                 40            851583 JC-HZ2Q7X2        8/8/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2070244420                 40            851583 JC-HZ2Q7X2        8/8/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2070244414                 40            851583 JC-HZ2Q7X2        8/8/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2070244409                 40            851583 JC-HZ2Q7X2        8/8/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2070244348                 40            851583 JC-HZ2Q7X2        8/8/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2070244327                 40            851583 JC-HZ2Q7X2        8/8/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2069492828                 40            851583 JC-MXL94159B6  10/25/2023 MADAMS      M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2068117380                 40            851583 JC-MXL94159B6   3/22/2024 MADAMS      M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE




                                                                    Case 2:23-cv-00071-TRM-JEM Document 235-33 Filed 06/28/24 Page 17 of 23 PageID #:
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                 B HIGGINS CASE NOTES




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                                     6673
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_      UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2073999557                 40            851862 JC-MXL9415LG8   7/20/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073999556                 40            851862 JC-MXL9415LG8   7/20/2022 BHiggins    B                                  HIGGINS         EDIT          Narrative            Source_Module_Link                  2020                TN0900100            FALSE        FALSE        TRUE
      -2073999555                 40            851862 JC-MXL9415LG8   7/20/2022 BHiggins    B                                  HIGGINS         Add           Narrative                                 Record Added                       TN0900100            FALSE        FALSE        TRUE
      -2073946709                 40            851862 JC-MXL9415LG8   7/25/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073946708                 40            851862 JC-MXL9415LG8   7/25/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2073946706                 40            851862 JC-MXL9415LG8   7/25/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073946705                 40            851862 JC-MXL9415LG8   7/25/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2073932793                 40            851862 JC-HZ2Q7X2      7/27/2022 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073920262                 40            851862 JC-MXL9415LG8   7/28/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073919793                 40            851862 JC-MXL9415LG8   7/28/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2073919792                 40            851862 JC-MXL9415LG8   7/28/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2073919790                 40            851862 JC-MXL9415LG8   7/28/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073864403                 40            851862 JC-MXL9415LG8     8/3/2022 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073859419                 40            851862 JC-MXL9415LG8     8/4/2022 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073859293                 40            851862 JC-MXL9415LG8     8/4/2022 BHiggins   B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2073859022                 40            851862 JC-MXL9415LG8     8/4/2022 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073855360                 40            851862 JC-MXL9415LG8     8/4/2022 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073855357                 40            851862 JC-MXL9415LG8     8/4/2022 BHiggins   B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2073854180                 40            851862 JC-MXL9415LG8     8/4/2022 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073854110                 40            851862 JC-MXL9415LG8     8/4/2022 BHiggins   B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2073791190                 40            851862 JC-FLPDDV2      8/10/2022 KPETERS     K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073779143                 40            851862 JC-FLPDDV2      8/11/2022 KPETERS     K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073778686                 40            851862 JC-HZ2Q7X2      8/11/2022 TSPARKS     T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073718971                 40            851862 JC-FLPDDV2      8/17/2022 KPETERS     K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073698064                 40            851862 JC-MXL9415LG8   8/19/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073698031                 40            851862 JC-MXL9415LG8   8/19/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2073697677                 40            851862 JC-MXL9415LG8   8/19/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073697676                 40            851862 JC-MXL9415LG8   8/19/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2073650078                 40            851862 JC-MXL9415LG8   8/24/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073650014                 40            851862 JC-MXL9415LG8   8/24/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2073591944                 40            851862 JC-MXL9415LG8   8/29/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073551655                 40            851862 JC-MXL9415LG8     9/1/2022 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073551580                 40            851862 JC-MXL9415LG8     9/1/2022 BHiggins   B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2073494148                 40            851862 JC-8XMXN23        9/7/2022 JHAMES     J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073492920                 40            851862 JC-8XMXN23        9/7/2022 JHAMES     J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073490670                 40            851862 JC-MXL9415LG8     9/7/2022 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073490669                 40            851862 JC-MXL9415LG8     9/7/2022 BHiggins   B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2073432134                 40            851862 JC-MXL9415LG8   9/13/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073432133                 40            851862 JC-MXL9415LG8   9/13/2022 BHiggins    B                                  HIGGINS         Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2073431021                 40            851862 JC-MXL9415LG8   9/13/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073431020                 40            851862 JC-MXL9415LG8   9/13/2022 BHiggins    B                                  HIGGINS         Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2073429653                 40            851862 JC-MXL9415LG8   9/13/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073429652                 40            851862 JC-MXL9415LG8   9/13/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2073406538                 40            851862 JC-MXL9415LG8   9/15/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073401730                 40            851862 JC-MXL9415LG8   9/15/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073401725                 40            851862 JC-MXL9415LG8   9/15/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2073362144                 40            851862 JC-MXL9415LG8   9/20/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2073362031                 40            851862 JC-MXL9415LG8   9/20/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2073109812                 40            851862 JC-MXL9415LFT  10/14/2022 GWills      G                                  WILLS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072815631                 40            851862 JC-MXL9415LG8  11/14/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072604801                 40            851862 JC-FLPDDV2      12/6/2022 KPETERS     K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072597438                 40            851862 JC-MXL9415LG8   12/7/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072596454                 40            851862 JC-MXL9415LFT   12/7/2022 GWills      G                                  WILLS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE



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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_      UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_   BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2072596447                 40            851862 JC-MXL9415LG8   12/7/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072596440                 40            851862 JC-MXL9415LG8   12/7/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                            TN0900100            FALSE        FALSE        TRUE
      -2072596215                 40            851862 JC-MXL9415LG8   12/7/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                            TN0900100            FALSE        FALSE        TRUE
      -2072596211                 40            851862 JC-MXL9415LG8   12/7/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                            TN0900100            FALSE        FALSE        TRUE
      -2072592841                 40            851862 JC-MXL9415LG8   12/7/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072592837                 40            851862 JC-MXL9415LG8   12/7/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                            TN0900100            FALSE        FALSE        TRUE
      -2072590642                 40            851862 JC-MXL9415LFT   12/7/2022 GWills      G                                  WILLS           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072582079                 40            851862 JC-FLPDDV2      12/8/2022 KPETERS     K                                  PETERS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072541288                 40            851862 JC-MXL9415LFT  12/12/2022 GWills      G                                  WILLS           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072533524                 40            851862 JC-MXL9415LG8  12/13/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072532935                 40            851862 JC-MXL9415LG8  12/13/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072532860                 40            851862 JC-MXL9415LG8  12/13/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                            TN0900100            FALSE        FALSE        TRUE
      -2072531252                 40            851862 JC-MXL9415LG8  12/13/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072531249                 40            851862 JC-MXL9415LG8  12/13/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                            TN0900100            FALSE        FALSE        TRUE
      -2072526027                 40            851862 JC-MXL9415LG8  12/13/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072526026                 40            851862 JC-MXL9415LG8  12/13/2022 BHiggins    B                                  HIGGINS         Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2072524964                 40            851862 JC-MXL9415LG8  12/13/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072524745                 40            851862 JC-MXL9415LG8  12/13/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                            TN0900100            FALSE        FALSE        TRUE
      -2072524670                 40            851862 JC-MXL9415LG8  12/13/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                            TN0900100            FALSE        FALSE        TRUE
      -2072475328                 40            851862 JC-MXL9415LG8  12/19/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072475038                 40            851862 JC-MXL9415LG8  12/19/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                            TN0900100            FALSE        FALSE        TRUE
      -2072469610                 40            851862 JC-MXL9415LG8  12/19/2022 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072469269                 40            851862 JC-MXL9415LG8  12/19/2022 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                            TN0900100            FALSE        FALSE        TRUE
      -2072291090                 40            851862 JC-FLPDDV2      1/10/2023 KPETERS     K                                  PETERS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072283397                 40            851862 JC-MXL94159CF   1/11/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072283395                 40            851862 JC-MXL94159CF   1/11/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072283390                 40            851862 JC-MXL94159CF   1/11/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072283092                 40            851862 JC-MXL94159CF   1/11/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072218109                 40            851862 JC-MXL94159CF   1/18/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072216429                 40            851862 JC-MXL9415LG8   1/18/2023 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072216194                 40            851862 JC-MXL9415LG8   1/18/2023 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072143415                 40            851862 JC-FLPDDV2      1/25/2023 KPETERS     K                                  PETERS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072143413                 40            851862 JC-FLPDDV2      1/25/2023 KPETERS     K                                  PETERS          Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2072107239                 40            851862 JC-MXL9415LG8   1/27/2023 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072024676                 40            851862 JC-MXL94159CF     2/2/2023 DSHEPARD   D                                  SHEPARD         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072016471                 40            851862 JC-MXL9415LG8     2/3/2023 BHiggins   B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072016469                 40            851862 JC-MXL9415LG8     2/3/2023 BHiggins   B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071984596                 40            851862 JC-HZ2Q7X2        2/7/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071984595                 40            851862 JC-HZ2Q7X2        2/7/2023 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                            TN0900100            FALSE        FALSE        TRUE
      -2071984594                 40            851862 JC-HZ2Q7X2        2/7/2023 TSPARKS    T                                  SPARKS          Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2071925618                 40            851862 JC-MXL94159CF   2/14/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071925477                 40            851862 JC-MXL94159CF   2/14/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071909731                 40            851862 JC-MXL94159CF   2/15/2023 DSHEPARD    D                                  SHEPARD         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071908923                 40            851862 JC-MXL94159CF   2/15/2023 DSHEPARD    D                                  SHEPARD         Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2071908921                 40            851862 JC-MXL9415LG8   2/15/2023 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071718961                 40            851862 JC-8XMXN23        3/7/2023 JHAMES     J                                  HAMES           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071708823                 40            851862 JC-8XMXN23        3/8/2023 JHAMES     J                                  HAMES           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071708822                 40            851862 JC-8XMXN23        3/8/2023 JHAMES     J                                  HAMES           Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2071579018                 40            851862 JC-MXL9415LG8   3/15/2023 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071579016                 40            851862 JC-MXL9415LG8   3/15/2023 BHiggins    B                                  HIGGINS         Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2071573993                 40            851862 JC-MXL9415LG8   3/16/2023 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071573941                 40            851862 JC-MXL9415LG8   3/16/2023 BHiggins    B                                  HIGGINS         EDIT          NARRATIVE                                                            TN0900100            FALSE        FALSE        TRUE
      -2071573844                 40            851862 JC-MXL9415LG8   3/16/2023 BHiggins    B                                  HIGGINS         Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE



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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_     UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2071573740                 40            851862 JC-MXL9415LG8   3/16/2023 BHiggins   B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071573738                 40            851862 JC-MXL9415LG8   3/16/2023 BHiggins   B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071573735                 40            851862 JC-MXL9415LG8   3/16/2023 BHiggins   B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071573714                 40            851862 JC-MXL9415LG8   3/16/2023 BHiggins   B                                  HIGGINS         EDIT          Narrative            Source_Module_Link   2020           902                 TN0900100            FALSE        FALSE        TRUE
      -2071572996                 40            851862 JC-MXL9415LG8   3/16/2023 BHiggins   B                                  HIGGINS         Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071572995                 40            851862 JC-MXL9415LG8   3/16/2023 BHiggins   B                                  HIGGINS         Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2071572560                 40            851862 JC-MXL9415LG8   3/16/2023 BHiggins   B                                  HIGGINS         EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071507585                 40            851862 JC-D063DV2      3/22/2023 MGRYDER    M                                  GRYDER          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071507544                 40            851862 JC-D063DV2      3/22/2023 MGRYDER    M                                  GRYDER          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071507542                 40            851862 JC-D063DV2      3/22/2023 MGRYDER    M                                  GRYDER          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071507539                 40            851862 JC-D063DV2      3/22/2023 MGRYDER    M                                  GRYDER          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2071507514                 40            851862 JC-D063DV2      3/22/2023 MGRYDER    M                                  GRYDER          EDIT          Narrative            Source_Module_Link   902            1948                TN0900100            FALSE        FALSE        TRUE
      -2071024839                 40            851862 JC-HZ2Q7X2      5/16/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071024838                 40            851862 JC-HZ2Q7X2      5/16/2023 TSPARKS    T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2070786139                 40            851862 JC-HZ2Q7X2      6/13/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070698065                 40            851862 JC-MXL9415LFT   6/22/2023 GWills     G                                  WILLS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070698033                 40            851862 JC-MXL9415LFT   6/22/2023 GWills     G                                  WILLS           Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2070651531                 40            851862 JC-HZ2Q7X2      6/27/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070651530                 40            851862 JC-HZ2Q7X2      6/27/2023 TSPARKS    T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2070476211                 40            851862 JC-FFZ26X3      7/14/2023 MHOLLIS    M                                  HOLLIS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070456413                 40            851862 JC-MXL94159B6   7/17/2023 MADAMS     M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070244548                 40            851862 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070244547                 40            851862 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2069492827                 40            851862 JC-MXL94159B6  10/25/2023 MADAMS     M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068117352                 40            851862 JC-MXL94159B6   3/22/2024 MADAMS     M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE




                                                                  Case 2:23-cv-00071-TRM-JEM Document 235-33 Filed 06/28/24 Page 21 of 23 PageID #:
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                         T SPARKS CASE NOTES




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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_     UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_        Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2070244421                 40            912502 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2070244419                 40            912502 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2070244418                 40            912502 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          EDIT          Narrative            Source_Module_Link                  1948               TN0900100            FALSE        FALSE        TRUE
      -2070244417                 40            912502 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Add           Narrative                                 Record Added                      TN0900100            FALSE        FALSE        TRUE
      -2070244413                 40            912502 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2070244412                 40            912502 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE        FALSE        TRUE
      -2070244408                 40            912502 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2070244407                 40            912502 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE        FALSE        TRUE
      -2070244347                 40            912502 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2069492826                 40            912502 JC-MXL94159B6  10/25/2023 MADAMS     M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2068117296                 40            912502 JC-MXL94159B6   3/22/2024 MADAMS     M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE




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